                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                             DOCKET NO. 3:11-cr-373-FDW

UNITED STATES OF AMERICA.                        )
                                                 )             SECOND       FINAL     ORDER      AND
JUDGMENT
     v.                                          )            CONFIRMING FORFEITURE
                                                 )
(3) KAMAL ZAKI QAZAH,                            )


       On June 11, 2013, this Court entered a Preliminary Order of Forfeiture pursuant to 21

U.S.C. § 853 and Fed. R. Crim. P. 32(d)(2), based upon the Defendant’s conviction at trial by the

jury on Counts One and Seven in the Bill of Indictment and evidence already on record; and was

adjudged guilty of the offenses charged in those counts.

       Direct notice was served on potential claimants known to the Government. Three

third-party petitions have been filed, one by Amer Quzah, (Doc. 319), one by Ashraf Quzah,

(Doc. 370), and one by Wael Salem. (Doc. 372). Neither Amer Quzah nor Wael Salem has

alleged an interest in the assets which are the subject of the Government’s Motion, and Ashraf

Quzah filed a voluntary notice of dismissal of his petition on May 19, 2014. (Doc. 496).

       On August 2, 2013 through August 31 2013, the United States published via

www.forfeiture.gov, notice of this forfeiture and of the intent of the Government to dispose of

the forfeited property according to law, and further notifying all third parties of their right to

petition the Court within sixty days from August 2, 2013 for a hearing to adjudicate the validity

of any alleged legal interest in the property.       Except as stated above, it appears from the record

that no such petitions have been filed regarding the eight assets which are the subject of the

Government’s Motion.      Based on the record in this case, including the defendant’s conviction,

the trial evidence, and the evidence summarized in the Government’s Motion for the Preliminary




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Order, (Doc. 282), the Court finds, in accordance with Rule 32.2(c)(2), that the Defendant had an

interest in the property that is forfeitable under the applicable statute.

        It is therefore ORDERED:

        In accordance with Rule 32.2(c)(2), the Preliminary Order of Forfeiture is confirmed as

final with regard to the following assets.    All right, title, and interest in the following property,

whether real, personal, or mixed, has therefore been forfeited to the United States for disposition

according to law:

        I.A.1. First Citizens xxxxxxxx6909 (approximately $10,653.53).

        I.A.2. First Citizens xxxxxxxx7601 (approximately $7,140.49)

        I.B. The sum of $181,950 as a substitute res for the inventory of 7 Stars LLC dba 7
        Stars Auto.

        II.A.1. The sum of $973.55 in currency seized on November 30, 2011.

        II.A.2. The sum of $70,000 in currency seized on November 30, 2011.

        II.B.1. Wells Fargo xxxxxxxxx2101 (approximately $10,679.50).

        II.B.2. First Citizens xxxxxxxx3001 (approximately $9.75 and $40,474.07).

        II.C.1. Funds received by $5,974.00 cashier’s check from Bank of America.

        IT IS SO ORDERED.


                                     Signed: May 23, 2014




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